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                             June 28, 2024

Honorable Lyle W. Cayce
Clerk of the Court
U.S. Court of Appeals for the Fifth Circuit
600 S. Maestri Place
New Orleans, LA 70130

Re:   Consumers’ Research v. FCC, No. 22-60008

Mr. Cayce:

     On June 27, 2024, Petitioners filed an opposition to Respondents’
motion to dismiss this case. In that opposition, Petitioners referenced a
new petition that had been filed the same day but not yet assigned a
docket number. Petitioners inform the Court that the new petition has
now been docketed as No. 24-60330.

                                    Respectfully,

                                    /S/ R. TRENT MCCOTTER
                                    Counsel of Record for Petitioners

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